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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


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                                                             :
 WATKINS HOLDINGS S.À R.L. &                                 :
 WATKINS (NED) B.V.,                                         : Civil Action No. 1:20-CV-01081-BAH
                                                             :
      Petitioners,                                           :
                                                             :
      v.                                                     :
                                                             :
 KINGDOM OF SPAIN,                                           :
                                                             :
      Respondent.                                            :
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                   NOTICE OF WITHDRAWAL AS COUNSEL OF RECORD

       COMES NOW Petitioners Watkins Holdings S.à r.l. & Watkins (NED) B.V. (collectively,

“Petitioners”) respectfully notify this Honorable Court that John Roberti shall be withdrawn as counsel

of record for the Petitioners in the above-captioned case. John Roberti is no longer affiliated with Allen

& Overy LLP, which remains counsel of record for the Petitioners.

       WHEREFORE, Allen & Overy LLP and Petitioners respectfully request that this Court enter an

Order permitting John Roberti to withdraw as counsel of record.

                                                      Respectfully submitted,

Dated: March 13, 2023

                                                      /s/ Bradley S. Pensyl
                                                      ALLEN & OVERY LLP
                                                      Bradley S. Pensyl (admitted pro hac vice)
                                                      Bradley.Pensyl@allenovery.com
                                                      Gideon Duke-Cohan (admitted pro hac vice)
                                                      Gideon.Duke-Cohan@allenovery.com
                                                      Laila Delimustafic (admitted pro hac vice)
                                                      Laila.Delimustafic@allenovery.com
                                                      1221 Avenue of the Americas
                                                      New York, NY 10020
                                                      Tel: (212) 610-6300
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                                  Patrick W. Pearsall
                                  Patrick.Pearsall@allenovery.com
                                  1101 New York Avenue, NW
                                  Washington, DC 20005
                                  Tel: (202) 683-3800
                                  Fax: (202) 683-3999

                                  Attorneys for Petitioners Watkins Holdings
                                  S.à r.l. & Watkins (Ned) B.V.




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                                  CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on all counsel of record by the Court’s

CM/ECF System, and by email, on this 13th day of March 2023.

                                                   /s/ Bradley S. Pensyl
                                                       Bradley S. Pensyl




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